       Case 3:94-cr-03012-LC-MD         Document 774        Filed 04/14/08        Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                          CASE NO. 3: 94CR3012 LAC

MARTIN WILLIAMS

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on MARCH 18, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE           on 3/18/2008   Doc.# 769

RESPONSES:
                                               on                      Doc.#
                                               on                      Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the   foregoing,       it   is    ORDERED    this    14 TH   day   of
April, 2008, that:
(a) The relief requested is DENIED.
(b) At sentencing, the defendant was held accountable for 25 kilograms of cocaine
base which ultimately resulted in a base offense level of 38. Pursuant to
Amendment 706 to the Sentencing Guidelines, the Drug Quantity Table at §2D1.1
assigns a base offense level of 38 for 4.5 kilograms or more of cocaine base.
Since the defendant’s base offense level is unchanged, he is not eligible for any
reduction in his sentence of imprisonment pursuant to Amendment 706.



                                                                s /L.A. Collier
                                                              LACEY A. COLLIER
Entered On Docket:                    By:
                                                    Senior United States District Judge
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
